L&ase 6:2 NEXO@OR-CME CPoqumenist7e® Eitect ifoUSOe-NO¢Dbrata 10/26/21 Pageaket Sf 3

Case title: USA v. SEALED

Assigned to: Magistrate Judge Stanley
A. Boone

Defendant (1)

Luis Alfredo Jacobo
TERMINATED; 10/07/2021
also known as

Lokz

TERMINATED: 10/07/2021

Pending Counts
None

Highest Offense Level (Opening)

None

 

Terminated Counts

None

Highest Offense Level (Terminated)

None

Complaints
RULE 5(c)(3)

https://caed-ecf.sso.den/cgi-bin/DktRpt.p1?111315809701252-L_1_0-1

CLOSED,SEALED

U.S. District Court
Eastern District of California - Live System (Fresno)
CRIMINAL DOCKET FOR CASE #: 1:21-mj-00099-SAB-1 *SEALED*

Internal Use Only

represented by

ol- 2.00102, - C4 - le
Date Filed: 09/28/2021

Date Terminated: 10/07/2021

RE CEI VED
OCT 26 2021
Ma ‘
Timothy P. Henness¥.S. Dis hioCart, Clerk
Hennessy Law Group ~! COURT
1215 L Street
Bakersfield, CA 93301
661-237-7179
Email: tph@hennessyatlaw.com
LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Designation: CJA Appointment

Disposition

Disposition - there 4 that the AAA
Intra on Serily Fat the ares oF
the original on file in my office.

ATTEST. KEITH HOLLAND

: all

     
 

 

   

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Dated Lfeefreef
Disposition Ce

10/22/2021
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Plaintiff

USA

Date Filed # Docket Text

09/28/2021 | | RULE 5(c)(3) ARREST and DOCUMENTS RECEIVED from Northern
District of Oklahoma. Case 21-CR-102-CVE as to Luis Alfredo Jacobo
(1). (Rivera, O) (Entered: 09/28/2021)

09/28/2021 2 | MINUTES (Text Only) for proceedings held via video conference before

Magistrate Judge Stanley A. Boone: INITIAL APPEARANCE re OUT-
OF-DISTRICT WARRANT re SECOND SUPERSEDING
INDICTMENT (Norther District of Oklahoma) as to Luis Alfredo Jacobo
held on 9/28/2021. Parties' consent to appearing by video conference. The
defendant is advised of the life in prison term as to count |. The defendant
is advised of the charges and rights, waived reading and enters a NOT
GUILTY PLEA. Identity hearing waived by the defendant. True name as
stated. Financial affidavit provided on behalf of the defendant. The Court
appointed counsel to represent the defendant in this case. Detention
hearing requested. Defendant waives having his detention hearing within
5 court days. Court finds good cause for the additional 1 day. Defendant
ordered TEMPORARILY DETAINED. Detention Hearing set for
10/6/2021 at 02:00 PM in Courtroom 9 (SAB) before Magistrate
Judge Stanley A. Boone. The court instructed government counsel under
Rule 5(f) to comply with its disclosure obligations under Brady v.
Maryland. Government Counsel: Laurel Montoya -via video present.
Defense Counsel: Timothy Hennessy - via video present. Custody Status:
Custody - via video. Court Reporter/CD Number: ECRO - Alice Timken.
(Gonzales, V) (Entered: 09/29/2021)

 

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09/28/2021 =.

[in

(Court only) CJA 23 FINANCIAL AFFIDAVIT by Luis Alfredo Jacobo.
(Martin-Gill, S) (Entered: 10/01/2021)

 

09/29/2021 3 | ORDER (TEXT ONLY) signed by Magistrate Judge Stanley A. Boone on
9/28/2021: According to the Federal Rules of Criminal Procedure Rule 5
(f), the government is ordered to comply with its discovery obligations as
required by federal law, including those duties imposed by Brady v.
Maryland, 373 U.S. 83 (1963), and all applicable decisions interpreting
Brady. This order does not relieve any party of any other discovery
obligation. The consequences for violating this order or the government's
obligations under Brady may include sanctions, referral to a disciplinary
authority, adverse jury instruction, exclusion of evidence, and dismissal of
charges, among other consequences. (Gonzales, V) (Entered: 09/29/2021)

 

09/30/2021

|S

ORDER APPOINTING ATTORNEY as to Luis Alfredo Jacobo, signed

by Magistrate Judge Stanley A. Boone on 09/29/2021. (Added Attorney

Timothy P. Hennessy for Luis Alfredo Jacobo) (Martin-Gill, S) (Entered:
09/30/2021)

 

 

 

 

 

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10/06/2021

MINUTES (Text Only) for proceedings held via video conference before
Magistrate Judge Stanley A. Boone: DETENTION HEARING as to Luis
Alfredo Jacobo held on 10/6/2021. The matter of detention argued and
submitted. The Court orders the defendant DETAINED and transported to
the District of Oklahoma. Government Counsel: Antonio Pataca present.
Defense Counsel: Timothy Hennessy present via video. Custody Status:
CUSTODY via video. Pretrial Services Officer: Ryan Beckwith present
via video. Court Reporter/CD Number: ECRO Alice Timken. (Apodaca,
P) (Entered: 10/06/2021)

 

10/06/2021

DETENTION ORDER signed by Magistrate Judge Stanley A. Boone on
10/6/2021 as to Luis Alfredo Jacobo. (Apodaca, P) (Entered: 10/06/2021)

 

10/07/2021

[co

COMMITMENT to ANOTHER DISTRICT as to Luis Alfredo Jacobo,
signed by Magistrate Judge Stanley A. Boone on 10/6/2021. Defendant
committed to District of Northern District of Oklahoma. (Martin-Gill, S)
(Entered: 10/07/2021)

 

10/07/2021

TRANSMITTAL of DOCUMENTS re 8 Commitment to Another District
on *10/6/2021* to * U.S. District Court, Northern District of Oklahoma*
*101 North Fifth Street* *Room 208* *Muskogee, OK 74401*. * *
*Electronic Documents: | to 8 * (Martin-Gill, S$) (Entered: 10/07/2021)

 

10/18/2021

(Court only) ***STAFF NOTE: Mailed all case documents to USDC,
Northern District of Oklahoma as to Luis Alfredo Jacobo. (Martin-Gill, $)
(Entered: 10/18/2021)

 

10/22/2021

CLERK'S NOTICE :Please disregard 9 Transmittal - CR - sent to wrong
address. See follow up transmittal. (Martin-Gill, S$) (Entered: 10/22/2021)

 

10/22/2021

 

 

 

TRANSMITTAL of DOCUMENTS re 8 Commitment to Another District
on *10/7/2021* to * USDC, Northern District of Oklahoma* *333 W. 4th
Street, Room 411* *Tulsa, OK 74103*. **

*Electronic Documents: | to 8 * (Martin-Gill, S) (Entered: 10/22/2021)

 

 

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Case 4:21-cr-00102-CVE Document 129 Filed in USDC ND/OK on 10/26/21 Page 4 of 9

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ase 1:21-mj-00099-SAB *SEALED* Document4 Filed 09/30/21 Page1of1

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, ) Case Ne: 1:21-mj-00099-1-SAB
)
Plaintiff, ) ORDER
) APPOINTING COUNSEL
VS. )
)
LUIS ALFREDO JACOBO, )
)
Defendant. )
)

 

The above named Defendant has, under oath, sworn or affirmed as to his financial
inability to employ counsel or has otherwise satisfied this Court that he is financially unable to
obtain counsel and wishes counsel be appointed to represent him. Therefore, in the interests of
justice and pursuant to the U.S. CoNsT., amend VI and 18 U.S.C. § 3006A,

IT IS HEREBY ORDERED that Timothy P. Hennessy be appointed to represent the
above defendant in this case effective nunc pro tunc to September 27, 2021, for the arraignment

and detention hearing.

IT IS SO ORDERED. DPA (ec _
Dated: | September 29, 2021 ;

UNITED STATES MAGISTRATE JUDGE

 

 

 
Case 4:21-cr-00102-CVE Document 129 Filed in USDC ND/OK on 10/26/21 Page 5 of 9

Case 1:21-mj-00099-SANG HS EATES DIST BACT COURID 06/21 Page 1 of 2

EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, No. 21 MJ 00099 SAB

¥.

LUIS ALFREDO JACOBO,

Defendant.

Plaintiff,
DETENTION ORDER

 

 

A. Order For Detention

After conducting a detention hearing pursuant to 18 U.S.C. § 3142(f) of the Bail Reform Act, the Court orders the
above-named defendant detained pursuant to 18 U.S.C. § 3142(e) and (1).

B. Statement Of Reasons For The Detention
The Court orders the defendant’s detention because it finds:
By a preponderance of the evidence that no condition or combination of conditions will reasonably
assure the appearance of the defendant as required.
By clear and convincing evidence that no condition or combination of conditions will reasonably
assure the safety of any other person and the community.

C. Findings of Fact

The Court’s findings are based on the evidence which was presented in Court and that which was contained in the
Pretrial Services Report, and includes the following:
(1) Nature and Circumstances of the offense charged:
(a) The crime, Continuing Criminal Enterprise, is a serious crime and carries a maximum penalty of life
(b) The offense is a crime of violence.

 

 

 

 

 

x | (c) The offense involves a narcotic drug.
x | (d) The offense involves a large amount of controlled substances.

(2) The weight of the evidence against the defendant is high.
(3) The history and characteristics of the defendant including:
(a) General Factors:

 

 

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The defendant appears to have a mental condition which may affect whether the
defendant will appear.

The defendant has no known family ties in the area.

The defendant has no known steady employment.

The defendant has no known substantial financial resources.

The defendant is not a long time resident of the community.

The defendant does not have any known significant community ties.

Past conduct of the defendant :No known ties to NDOK

The defendant has a history relating to drug abuse.

The defendant has a history relating to alcohol abuse.

The defendant has a significant prior criminal record.

The defendant has a prior record of failure to appear at court proceedings.
The defendant has a history of violating probation and/or parole.
Case 4:21-cr-00102-CVE Document 129 Filed in USDC ND/OK on 10/26/21 Page 6 of 9

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Case Nun

(b) Whether the defendant was on probation, parole, or release by a court;
At the time of the current arrest, the defendant was on:

[| Probation
[| Parole

[| Release pending trial, sentence, appeal or completion of sentence.
(c) Other Factors:
[| The defendant is an illegal alien and is subject to deportation.
[| The defendant is a legal alien and will be subject to deportation if convicted.
[| Other:
(4) The nature and seriousness of the danger posed by the defendant’s release are as follows:
(5) Rebuttable Presumptions
In determining that the defendant should be detained, the court also relied on the following
rebuttable presumption(s) contained in 18 U.S.C. § 3142(e), which the court finds the
defendant has not rebutted:
a. The crime charged is one described in § 3142(f)(1).
(A) acrime of violence; or
(B) an offense for which the maximum penalty is life imprisonment or death; or
(C) acontrolled substance violation that has a maximum penalty of ten years or
more; or
(D) A felony after the defendant had been convicted of two or more prior offenses
described in (A) through (C) above, and the defendant has a prior conviction of one of the
crimes mentioned in (A) through (C) above which is less than five years old and which

was committed while the defendant was on pretrial release
[| b. There is probable cause to believe that defendant committed an offense for which a

maximum term of imprisonment of ten years or more is prescribed

[| in the Controlled Substances Act, 21 U.S.C. §§ 801, et seq.,

the Controlled Substances [Import and Export Act, 21 U.S.C. §§ 951, et seq.,
the Maritime Drug Law Enforcement Act, 46 U.S.C. App. §§ 1901, et seq., or
an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b.

an offense involving a minor under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(1),
2245, 2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2),
2252A(a\(3), 2252A(a)(4), 2260, 2421, 2422, 2423, or 2425.

 

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D. Additional Directives
Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court directs that:

The defendant be committed to the custody of the Attorney General for confinement in a corrections facility
separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal;

The defendant be afforded reasonable opportunity for private consultation with counsel; and
That, on order of a court of the United States, or on request of an attorney for the Government, the person in

charge of the corrections facility in which the defendant is confined deliver the defendant to a United States Marshal for
the purpose of an appearance in connection with a court proceeding.

IT IS SO ORDERED. FA (Be

Dated: _ October 6, 2021
UNITED STATES MAGISTRATE JUDGE

 
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Case 1:21-mj-00099-SAB *SEALED* Document 8 Filed 10/07/21 Page 1 of 1
OAO 94 (Rev. 8/97) Commitment to Another District

 

UNITED STATES DISTRICT COURT

Eastern District of California

 

 

 

 

 

 

 

 

UNITED STATES OF AMERICA COMMITMENT TO ANOTHER
Vv. DISTRICT
LUIS ALFREDO JACOBO Case No. *1:21-MJ-00099-SAB
DOCKET NUMBER MAGISTRATE JUDGE CASE NUMBER
District of Arrest District of Offense District of Arrest District of Offense
21-CR-102-CVE 1:21-MJ-00099-SAB
CHARGES AGAINST THE DEFENDANT ARE BASED UPON AN
X__Indictment Information Complaint Other (specify)
charging a violation of 21 U.S.C." 848(A), 848(b), 848(c), 848(d)

 

DISTRICT OF OFFENSE Northern District of Oklahoma

 

DESCRIPTION OF CHARGES:
Continuing Criminal Enterprise

CURRENT BOND STATUS:
___ Bail fixed at $ and conditions were not met
__X Government moved for detention and defendant detained after hearing in District of Arrest
____ Government moved for detention and defendant detained pending detention hearing in District of Offense

 

 

Other (specify)
Representation Retained Own Counsel ___ Federal Defender Organization _X CJA Attorney None
Interpreter Required? XxX No Yes Language:

 

 

DISTRICT OF CALIFORNIA
TO: THE UNITED STATES MARSHAL

You are hereby commanded to take custody of the above named defendant and to transport that
defendant with a certified copy of this commitment forthwith to the district of offense as specified above and
there deliver the defendant to the United States Marshal for that District or to some other officer authorized
to receive the defendant.

 

 

 

 

Oct 6, 2021 4 c
Date (_Sénley A. Boge, United States-detige or Magistrate Judge
RETURN ~
[This commitment was received and executed as follows:
IDATE COMMITMENT ORDER RECEIVED PLACE OF COMMITMENT DATE DEFENDANT COMMITTED

 

 

 

DATE UNITED STATES MARSHAL (BY) DEPUTY MARSHAL

 

 

 

 

 
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Case 1:21-mj-00099-SAB *SEALED* Document9 Filed 10/07/21 Page 1 of1

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

OFFICE OF THE CLERK
2500 Tulare Street
Fresno, CA 93721
October 7, 2021
U.S. District Court, Northern District of Oklahoma
101 North Fifth Street

Room 208
Muskogee, OK 74401

RE: USA vs. LUIS ALFREDO JACOBO
USDC No.: 1:21-MJ—00099-SAB *SEALED*
Dear Clerk,
Pursuant to the order transferring the above captioned case to your court, dated October 06, 2021 ,
transmitted herewith are the following documents:
Electronic Documents: 1 to 8

Documents maintained electronically by the district court are accessible through PACER for the
Eastern District of California at https://ecf.caed.uscourts.gov.

Please acknowledge receipt on the extra copy of this letter and return to the Clerk's Office.

Thank you,

/s/ S. Martin—Gill
Deputy Clerk

 

DATE RECEIVED:

 

RECEIVED BY:

 

(Print Name)

NEW CASE NUMBER:

 
Case 4:21-cr-00102-CVE Document 129 Filed in USDC ND/OK on 10/26/21 Page 9 of 9

Case 1:21-mj-00099-SAB *SEALED* Document 11 Filed 10/22/21 Page 1 of1

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

OFFICE OF THE CLERK

2500 Tulare Street
Fresno, CA 93721

October 22, 2021

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i) F
USDC, Northern District of Oklahoma RE CEI V Hd A

333 W. 4th Street, Room 411
Tulsa, OK 74103 OCT 26 2024

Mark C. McCarti, c
U.S. DISTRICT COURT
RE: USA vs. LUIS ALFREDO JACOBO
USDC No.: 1:21-MJ—00099-SAB *SEALED*
Dear Clerk,

Pursuant to the order transferring the above captioned case to your court, dated October 07, 2021 ,
transmitted herewith are the following documents:

Electronic Documents: 1 to 8

Documents maintained electronically by the district court are accessible through PACER for the
Eastern District of California at https://ecf.caed.uscourts.gov.

Please acknowledge receipt on the extra copy of this letter and return to the Clerk's Office.

Thank you,

/s/ S. Martin—Gill
Deputy Clerk

 

DATE RECEIVED:

 

RECEIVED BY:

 

(Print Name)

NEW CASE NUMBER:

 
